             21 Mag 405                                         William Joseph Pepe


      Benjamin Gianforti                                           Susanne Brody
                                                                            ✔




                        ✔                                                             1/12/21
                                                                                      1:00 p.m.
                                                                                              2:00 p.m.




✔




✔   10,000




✔                       See Order Setting Conditions of Release




The defendant consents to proceed remotely and is advised of his rights and the charges against him. Public reading of
the complaint is waived. Susanne Brody is appointed to represent the defendant for the purposes of today's
proceeding only. The defendant is released on agreed-upon conditions of bail. See Appearance Bond and Order Setting
Conditions of Release.

(AT&T Recording: 45 minutes)




                                                            ✔




                                     2/10/21                         ✔




        1/13/2021                                                 Judith C. McCarthy
